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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

ELLIS EVERETT,

                   Plaintiff,
                                         Case Number: 8:21-cv-0973-MSS-JSS
      v.

ALPHA RECOVERY CORP.
OF COLORADO AND FIRST
PORTFOLIO VENTURES I, LLC,

                 Defendants.
______________________________________/

                           NOTICE OF SETTLEMENT

      COMES NOW, the Plaintiff, Ellis Everett, to notify this court pursuant to Local

Rule 3.09 that he has reached a settlement with Defendants. Upon consummation of

the settlement terms, the Plaintiff will dismiss Defendants Alpha Recovery Corp. of

Colorado and First Portfolio Ventures I, LLC.

      Submitted this May 12, 2021, by:

                                                     /s/ Brandon D. Morgan
                                                     Brandon D. Morgan, Esq.
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                                                     Counsel for Plaintiff
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 12, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF. This document has been served on
Defendants’ counsel via e-mail and a CM/ECF e-service system notice sent to all
attorneys of record.

                                                    /s/ Brandon D. Morgan
                                                    Brandon D. Morgan, Esq.
                                                    Florida Bar Number: 1015954
